          Case 1:20-cv-00177-N/A Document 6            Filed 09/10/20     Page 1 of 1
                                                                                        FORM 11


             UNITED STATES COURT OF INTERNATIONAL TRADE
________________________________________________
                                                 :
HMTX INDUSTRIES LLC,                             :
HALSTEAD NEW ENGLAND CORPORATION, and            :
METROFLOR CORPORATION,                           :
                                                 :
                        Plaintiffs,              :
                                                 :
                        v.                       : Court No. 20-00177
                                                 :
UNITED STATES OF AMERICA;                        :
OFFICE OF THE UNITED STATES TRADE                :
REPRESENTATIVE; ROBERT E. LIGHTHIZER, U.S.       :
TRADE REPRESENTATIVE; U.S. CUSTOMS &             :
BORDER PROTECTION; MARK A. MORGAN, U.S.          :
CUSTOMS & BORDER PROTECTION ACTING               :
COMMISSIONER,                                    :
                                                 :
                        Defendants.              :
                                                 :

                                    NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that, pursuant to Rule 75(b) of the Rules of the United States

Court of International Trade, the undersigned appears as attorney for plaintiffs, HMTX Industries

LLC, Halstead New England Corporation, and Metroflor Corporation, in this action and requests

that all papers be served on him.

       The individual attorney in the undersigned firm who is responsible for the litigation is

Matthew R. Nicely.



Date: September 10, 2020                          /s/ Pratik A. Shah
                                                 AKIN GUMP STRAUSS HAUER & FELD LLP
                                                 2001 K Street, NW
                                                 Washington, D.C. 20006
                                                 202-887-4000
                                                 pshah@akingump.com
